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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: Chapter 7

AKORN HOLDING COMPANY LLC, et Case No, 23-10253 (KBO)
al.
(Jointly Administered)
Debtors.

 

 

TRUSTEE’S DECLARATION IN SUPPORT OF TRUSTEE’S MOTION FOR
APPROVAL OF SHARING AGREEMENT AND CARVE-OUT WITH LENDERS, AND
RELATED RELIEF

I, George L. Miller, the duly appointed chapter 7 trustee for the Estates of the Debtors,
make this Declaration in support of the Trustee's Motion for Approval of Sharing Agreement and

Carve-Out With Lenders, and Related Relief (the “Motion”):*

1. To the best of my knowledge, information and belief, the facts set forth in the
Motion are true and correct.

z In the exercise of my business judgment, | believe that the approval of the Motion
and granting of the relief requested therein, including without limitation the approval of the

Sharing Agreement, is in the best interest of the Estates and their creditors.

>

eorge L. Miller, solely in his Capacity as
Chapter 7 Trustee

Date: Mon. \ 2025

 

' The Debtors in these chapter 7 cases, along with the last four digits of their federal tax identification numbers, and
cases numbers are Akorn Holding Company LLC (9190), Case No. 23-10253 (KBO); Akorn Intermediate Company
LLC (6123), Case No. 23-10254 (KBO); and Akorn Operating Company LLC (6184), Case No, 23- 10255. The
Debtors’ headquarters is located at 5605 CenterPoint Court, Gurnee, IL 60031.

* Capitalized terms not defined herein shall have the meanings provided in the Motion.

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